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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

  PAVEL STETSKO, on behalf of himself and               Case No.: 25-cv-3222
  others similarly situated,
                                                        COLLECTIVE AND CLASS ACTION
                        Plaintiff,                      COMPLAINT

                 v.                                     JURY TRIAL DEMANDED

  SINAI I INC. d/b/a SINAI VAN SERVICE and
  YEFIM PORTNOV, in his individual and
  professional capacity,

                        Defendants.

         Plaintiff Pavel Stetsko (“Stetsko” or “Plaintiff”), by and through his attorneys, Faruqi &

  Faruqi, LLP, and on behalf of himself and others similarly situated, hereby alleges as follows

  against Defendants Sinai I Inc. d/b/a Sinai Van Service (“Sinai”) and Yefim Portnov (“Portnov”)

  (together, “Defendants”):

                                     NATURE OF THE CLAIMS

         1.      Defendants own and operate a for-hire transportation service located in Queens,

  New York, that provides, inter alia, luxury car and ambulette transportation services throughout

  the five boroughs of New York City, Long Island, and New Jersey.

         2.      Defendants engage in a common, willful, and deliberate policy and practice of

  denying Plaintiff and other similarly situated Drivers (defined infra at ¶ 30) spread of hours pay,

  and minimum and overtime wages due to a policy of time shaving, in violation of the Fair Labor

  Standards Act (“FLSA”) and New York Labor Law (“NYLL”).

         3.      Additionally, Defendants improperly deduct parking and traffic tickets from

  Drivers’ wages.




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          4.      Defendants have also consistently failed to furnish their Drivers with Notices of

  Pay Rate and accurate wage statements, as required by law.

          5.      Lastly, when Plaintiff complained about Defendants’ policy of not providing

  Drivers with any meal breaks mandated by law, Defendants retaliated against him by terminating

  his employment.

          6.      Plaintiff’s claims against Defendants to redress these wrongs are brought, in part,

  under the FLSA as a collective action, pursuant to 29 U.S.C. § 216(b), and applicable regulations

  thereunder, on behalf of himself and all other similarly situated Drivers employed by Defendants

  at any time during the full statute of limitations period.

          7.      Plaintiff’s claims are also brought, in part, under the NYLL, and applicable

  regulations thereunder, as a class action, pursuant to Federal Rule of Civil Procedure (“FRCP”)

  23, on behalf of himself and all other similarly situated Drivers employed by Defendants at any

  time during the full statute of limitations period.

          8.      Plaintiff also brings retaliation claims individually under the NYLL.

                                    JURISDICTION AND VENUE

          9.      Pursuant to 28 U.S.C. §§ 1331 and 1343, the Court has subject matter jurisdiction

  over this action because it involves federal questions regarding the deprivation of Plaintiff’s rights

  under the FLSA.

          10.     The Court also has supplemental jurisdiction over Plaintiff’s related claims arising

  under State law pursuant to 28 U.S.C. § 1367.

          11.     Venue is proper under 28 U.S.C. § 1391 because Defendants’ principal place of

  business is located in this District and a substantial portion of the events or omissions giving rise

  to this action occurred in this District.




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                                                PARTIES

  A.     Plaintiff Pavel Stetsko

         12.      Stetsko is a resident of Brooklyn, New York and Defendants employed him from

  in or around May 2011 through on or around March 6, 2025.

         13.     At all relevant times, Stetsko was an “employee” of Defendants within the meaning

  of all applicable statutes and regulations.

  B.     Defendant Sinai I Inc. d/b/a Sinai Van Service

         14.     Sinai I Inc. d/b/a Sinai Van Service is a domestic corporation with its principal

  place of business located at 1224 Brunswick Avenue, Far Rockaway, New York 11691.

         15.     At all relevant times, Sinai controlled and directed the terms of employment and

  compensation of Plaintiff, and all others similarly situated.

         16.     At all relevant times, Sinai established, implemented, disseminated, and controlled

  the employment policies applicable to Plaintiff and all others similarly situated, including, inter

  alia, scheduling, work allocation, task supervision, monitoring work product, payroll, and other

  employment practices applicable to Plaintiff and all others similarly situated.

         17.     At all relevant times, Sinai maintained and exercised its power to hire, fire,

  discipline, and promote Plaintiff and all others similarly situated.

         18.     At all relevant times, Sinai was an “employer” within the meaning of all applicable

  statutes and regulations.

         19.     At all relevant times, Sinai was and continues to be an “enterprise engaged in

  commerce” within the meaning of the FLSA and NYLL and the regulations thereunder.

         20.     Upon information and belief, at all relevant times Sinai had an annual gross volume

  of sales in excess of $500,000.00.




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  C.      Defendant Yefim Portnov

          21.     Portnov is, upon information and belief, a resident of Queens, New York.

          22.     Portnov manages, owns, and operates Sinai.

          23.     At all relevant times, Portnov controlled and directed the terms of employment and

  compensation of Plaintiff, and all others similarly situated.

          24.     At all relevant times, Portnov maintained and exercised his power to hire, fire,

  promote, and discipline Plaintiff and all others similarly situated.

          25.     At all relevant times, Portnov maintained control, oversight, and direction of

  Plaintiff and all others similarly situated, including, inter alia, scheduling, work allocation, task

  supervision, monitoring work product, payroll, and other employment practices applicable to

  Plaintiff and all others similarly situated.

          26.     At all relevant times, Portnov determined the rates and method of payments to

  Plaintiff and all others similarly situated.

          27.     At all relevant times, Portnov was an “employer” of Plaintiff, and all others

  similarly situated within the meaning of all applicable statutes and regulations.

                                                 FACTS

  A.      Background

          28.     Defendants own and operate Sinai, a for-hire transportation company in Queens,

  New York, doing business under the name “Sinai Van Service.”

          29.     Defendants specialize in, inter alia, luxury car and ambulette transportation

  services throughout the five boroughs of New York City, Long Island, and New Jersey.

          30.     Defendants employ approximately 100 to 120 luxury car and ambulette drivers

  (“Drivers”) at any given time, and own and operate approximately 100 to 150 vehicles.




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         31.        Defendants assign company-owned luxury vehicles or ambulettes to Drivers who

  use them to transport individuals to the airport or to transport elderly and/or infirm individuals to

  school or medical facilities such as hospitals or medical offices, throughout the five boroughs of

  New York City, Long Island, and New Jersey.

         32.        Each morning, Defendants’ dispatchers give Drivers the location of Defendants’

  first customer.

         33.        After transporting Defendants’ first customer to their destination, Defendants’

  dispatchers will instruct Drivers to pick up and drop off Defendants’ subsequent customers,

  continually until Drivers’ shifts are completed.

         34.        At the end of their shifts, Drivers drive the company-issued vehicles home, except

  for approximately three to four times a year when Drivers drive their assigned vehicle to

  Defendants’ office located at 1224 Brunswick Avenue, Far Rockaway, New York 11691 (the

  “Office”), to undergo maintenance and/or inspection.

         35.        Defendants typically schedule Drivers to work five to six days per week, from

  approximately between 8:00 a.m. and 9:00 a.m. to approximately between 3:00 p.m. and 6:30 p.m.,

  for a total of approximately 30 to 63 hours per week.

         36.        Each pay period spans from Thursday through Wednesday.

         37.        The services Drivers render—namely, luxury car and ambulette transportation

  services throughout New York City, Long Island, and New Jersey—is an integral part of

  Defendants’ business of providing transportation services.

         38.        Drivers’ relationships with Defendants are permanent insofar as they typically work

  exclusively for Defendants over extended periods of time.




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         39.     Defendants require Drivers to use vehicles, ambulettes, and other equipment

  provided by Defendants.

         40.     Defendants dictate Drivers’ rates of pay and hours worked.

         41.     Defendants maintain control and oversight over the quality of Drivers’ work.

         42.     Drivers have no opportunity for profit or loss, as they are paid the same hourly

  wage irrespective of the income generated by their work or Defendants’ overall profits.

         43.     Drivers perform routine tasks that require little training.

         44.     Drivers exercise little to no initiative, judgment, or foresight in open market

  competition with others to ensure their success, as they work exclusively for Defendants and for a

  fixed hourly wage.

         45.     For example, Drivers do not independently advertise or market their services.

         46.     On a similar note, Drivers do not operate their own businesses independently of

  Defendants.

  B.     Time Shaving

         47.     Throughout the statutory period, Defendants instructed drivers to call the Office at

  the end of each pay period to report the hours they worked.

         48.     However, beginning in or around 2016, Defendants issued Drivers with time sheets

  titled “Driver’s Pre-Trip/Post-Trip Vehicle Condition Report” (the “Reports”) to track, inter alia,

  the number of hours Drivers work each week, the number of miles Drivers travel, and whether

  Defendants’ vehicles incurred any defects.

         49.     Defendants instructed Drivers to submit the Reports at the end of each pay period

  to track the number of hours Drivers work and the condition of Defendants’ vehicles.




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         50.      Defendants also instructed Drivers to collect and bring the physical copies of their

  Reports to the Office approximately every three or four months when Drivers’ vehicles were due

  for maintenance and/or inspection.

         51.      Beginning in or around 2019, Defendants also instructed Drivers to email the Office

  at info@sinaivanservice.com at the end of each pay period to report their hours, in addition to

  submitting the Reports.

         52.      When Drivers arrive to the location of their first assignment each morning, they

  clock in by writing their arrival times on the Reports.

         53.      At the end of their shifts, Drivers clock out by writing the time that they dropped

  off their last customer on the Reports before driving Defendants’ vehicles home.

         54.      In the event a Driver fails to write down their clock in or clock out times,

  Defendants simply pull the relevant information from software installed in each vehicle, which

  tracks the precise time Drivers pick up their first customer and drop off their last customer.

         55.      Indeed, Defendants outfit each vehicle with software that tracks the exact time

  Drivers pick up their first customer at the beginning of each of their shifts and the time they drop

  off their last customer at the completion of their shifts.

         56.      The software also tracks, inter alia, the location of each vehicle and the speed at

  which Drivers are driving at any given time.

         57.      The vehicle’s software then exports this information to Defendants’ Office.

         58.      As such, based on receiving phone calls, emails, and/or the Reports from Drivers

  each week, as well as actively tracking the precise hours worked by Drivers through the software

  Defendants install in each vehicle, Defendants are aware of the number of hours Drivers work each

  day and week.




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         59.      However, as detailed below, Defendants routinely fail to compensate Drivers for

  all hours worked—only paying for a portion of the time Drivers spend driving Defendants’

  customers.

         60.      Indeed, Defendants routinely shave approximately 15 minutes to seven hours every

  week from Drivers’ work times.

  C.     Failure to Tender Minimum and Overtime Wages, Payment for All Hours Worked,
         and Spread of Hours Pay

         61.      Defendants engage in a common pattern and practice of deliberately denying

  Drivers their minimum and overtime wages.

         62.      First, Defendants engage in a common pattern and practice of deliberately reducing

  Drivers’ hours worked, such that Drivers are paid for fewer hours than they spend driving during

  their shifts, report to Defendants’ Office, and/or log in the Reports.

         63.      Indeed, at the end of each pay period, Defendants give Drivers pay records

  supposedly reflecting the total number of hours each Driver worked during the preceding pay

  period, along with their earned wages for working those hours.

         64.      However, the pay records do not accurately reflect the actual number of hours that

  Drivers work.

         65.      As discussed supra, Defendants routinely reduce Drivers’ working hours by

  anywhere from 15 minutes to seven hours each week.

         66.      These hours that Defendants unlawfully cut should be paid to Drivers at the

  applicable State-minimum wage rate or at a rate of one and one-half times their regular rates of

  pay or the minimum wage rate for hours that exceeded 40 in a workweek.

         67.      Lastly, Defendants never provided Drivers with “spread of hours” pay—i.e., an

  additional hour of pay at the applicable State minimum wage rate on each day where the length of



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  interval between the beginning and end of an employees’ workday exceeds 10 hours.

  D.     Unlawful Deductions for Parking and Traffic Violations

         68.     Defendants also have acted willfully and deliberately in maintaining an intentional

  practice of improperly deducting wages from Drivers.

         69.     Specifically, Defendants deduct Drivers’ wages to cover some or all of the costs

  associated with parking and traffic violations for which Drivers are issued tickets while operating

  Defendants’ vehicles during working hours and for work purposes.

         70.     Defendants either deduct a portion or the entire amount of the parking or traffic

  violations from Drivers’ wages.

         71.     These deductions from Drivers’ wages for expenses incurred by Drivers, in

  carrying out duties assigned by Defendants, are unlawful.

  E.     Failure to Provide Notices of Pay Rate and Accurate Wage Statements

         72.     The NYLL requires that Defendants provide Drivers, “at the time of hiring, a notice

  containing the following information: the rate or rates of pay and basis thereof, whether paid by

  the hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as part

  of the minimum wage, including tip, meal, or lodging allowances . . . ; the regular pay day

  designated by the employer [ ]; the name of the employer; any ‘doing business as’ names used by

  the employer; the physical address of the employer’s main office or principal place of business,

  and a mailing address if different; the telephone number of the employer; plus such other

  information as the commissioner deems material and necessary[,]” which is commonly referred to

  as a Notice of Pay Rate. NYLL § 195(1)(a).

         73.     Throughout the statutory period, Defendants have never provided any of the

  Drivers with a Notice of Pay Rate.

         74.     The NYLL also requires that Defendants furnish Drivers with accurate wage


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 statements with each payment of wages.

        75.       Throughout the statutory period, Defendants have never furnished accurate wage

 statements to any of the Drivers.

        76.       As a result of Defendants’ failure to provide Drivers with Notices of Pay Rate and

 accurate wage statements with each payment of wages, Plaintiff and other Drivers have suffered

 concrete harm.

        77.       Specifically, Plaintiff and other Drivers have been prevented from, inter alia: (i)

 realizing their true hours worked; (ii) realizing that Defendants underpaid them; and (iii)

 advocating for themselves by taking appropriate action to obtain the payments due to them.

        78.       Defendants’ failure to provide Plaintiff and other Drivers Notices of Pay Rate and

 accurate wage statements not only hindered Plaintiff and other Drivers from realizing their rights

 at the time of payment, but also injured Plaintiff and other Drivers by enabling the actual

 underpayment of their wages, necessitating this action.

 F.     Plaintiff Pavel Stetsko

        i.        Background

        79.       Stetsko worked for Defendants as an ambulette driver from in or around May 2011

 through on or around March 6, 2025.

        80.       In this role, Stetsko was responsible for, inter alia, driving Defendants’ vehicles to

 pick up and transport elderly and/or infirm individuals to schools and/or medical facilities such as

 hospitals or medical offices throughout New York City and Long Island.

        81.       Each morning, Stetsko received the location of Defendants’ first customer, and he

 drove Defendants’ company-issued ambulette to pick up that individual.

        82.       After Stetsko dropped off the customer at their destination, he proceeded to the




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 location of Defendants’ next customer until his shift ended.

        83.     For each shift, Stetsko reported the time he arrived at the location of his first

 customer on the Reports issued by Defendants.

        84.     Before driving the Defendants’ ambulette back home, Stetsko also reported the time

 he dropped off his last customer on the Reports.

        85.     At the end of each pay period, Stetsko submitted the Reports to Defendants and/or

 emailed Defendants notifying them of, inter alia, the number of his assigned vehicle, the days he

 worked that week, the time his shift started and ended each day, and the total number of hours he

 worked that week.

        86.     Defendants could also confirm the start and end times of each of Stetsko’s shifts

 through the tracking software installed in the ambulette(s) Defendants assigned him.

        87.     Defendants could further confirm the hours Stetsko worked each week by

 reviewing the physical copies of the Reports Stetsko submitted every three to four months when

 Defendants instructed to him to bring the company-issued vehicle to the Office for maintenance

 and/or inspection.

        88.     In 2019, Defendants set Stetsko’s regular rate of pay at $15.00 per hour, with his

 overtime rate being $22.50 per hour.

        89.     Beginning in or around January 2020 through on or around August 9, 2023,

 Defendants set Stetsko’s regular rate of pay at $16.00 per hour, with his overtime rate being $24.00

 per hour.

        90.     Beginning on or around August 10, 2023 through on or around July 10, 2024,

 Defendants set Stetsko’s regular rate of pay at $18.00 per hour, with his overtime rate being $27.00

 per hour.




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        91.     Beginning on or around July 11, 2024 through on or around March 6, 2025,

 Defendants set Stetsko’s regular rate of pay at $19.00 per hour, with his overtime rate being $28.50

 per hour.

        92.     At all times, Stetsko agreed to be paid at these rates.

        93.     From in or around June 2019 through in or around February 2020, Defendants

 typically scheduled Stetsko to work five to six days per week, from between approximately 8:00

 a.m. and 9:00 a.m. to between approximately 5:00 p.m. and 6:30 p.m.

        94.     During this time, Stetsko consistently worked approximately 40 to 59.25 hours per

 week, without a meal break.

        95.     From in or around March 2020 through in or around early-November 2020,

 Defendants reduced the number of days Stetsko worked to five days per week because of COVID-

 19, and Stetsko worked from approximately 8:45 a.m. or 9:00 a.m. to between approximately 3:00

 p.m. and 5:00 p.m.

        96.     During this time, Stetsko consistently worked approximately 25.5 to 41 hours per

 week, without a meal break.

        97.     From in or around November 2020 through on or around March 6, 2025,

 Defendants typically scheduled Stetsko to work five days per week, from approximately 8:00 a.m.

 to between approximately 4:30 p.m. and 5:30 p.m.

        98.     During this time, Stetsko consistently worked approximately 40 to 47.5 hours per

 week, without a meal break.

        99.     Stetsko’s relationship with Defendants was permanent insofar as he worked

 exclusively for Defendants throughout his employment.

        100.    Defendants required Stetsko to use a company-issued vehicle and other equipment




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 provided by Defendants.

        101.    Defendants dictated Stetsko’s rates of pay and hours worked.

        102.    Defendants maintained control and oversight over the quality of Stetsko’s work.

        103.    While employed by Defendants, Stetsko had no opportunity for profit or loss, as

 Defendants paid him the same hourly wage irrespective of the income generated by his work or

 Defendants’ overall profits.

        104.    Stetsko performed routine tasks that required little training.

        105.    Stetsko exercised little to no initiative, judgment, or foresight in open market

 competition with others to ensure his success, as he worked exclusively for Defendants at a fixed

 hourly wage.

        106.    For example, Stetsko did not independently advertise or market his services.

        107.    On a similar note, Stetsko did not operate his own business independently of

 Defendants.

        ii.     Wage Violations

        108.    Despite routinely working five to six days per week for approximately 25.5 to 59.25

 hours each week, at all relevant times, Defendants failed to pay Stetsko for all of his hours worked

 as a result of Defendants’ common policy and practice of time shaving.

        109.    Indeed, Defendants failed to pay Stetsko at his established regular rates or one-half

 times his regular rate of pay for all hours worked in excess of 40 hours in a workweek for

 approximately 15 minutes to four hours every week during the statutory period.

        110.    By way of example, from on or around November 3, 2022 through on or around

 November 9, 2022, Stetsko worked approximately 43.25 hours.

        111.    However, Defendants only paid Stetsko $646.00 for only 40.25 hours worked and




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 did not pay him anything at all for the three additional hours of overtime he worked during this

 workweek.

            112.     For this week alone, Defendants should have paid Stetsko an additional $72.00 in

 overtime wages. 1

            113.     Unfortunately, Defendants’ unlawful pay practices were not isolated to this week

 alone.

            114.     By way of further example, from on or around February 29, 2024 through on or

 around March 6, 2024, Stetsko worked approximately 32.50 hours.

            115.     However, Defendants only paid Stetsko $720.00 for 32 hours worked and did not

 pay him anything at all for the additional 30 minutes he worked during this workweek.

            116.     For this week alone, Defendants should have paid Stetsko an additional $9.00 in

 unpaid wages. 2

            117.     Defendants also failed to pay Stetsko spread of hours pay for shifts he worked that

 were longer than 10 hours.

            118.     By way of example, from on or around September 19, 2019 through on or around

 September 25, 2019, Stetsko worked one 9.75-hour shift, one 10-hour shift, one 10.25-hour shift,

 one 10.50 hour shift, and one 10.75 hour shift for a total of 51.25 hours that week.

            119.     However, Defendants never paid Stetsko an additional $45.00 in spread of hours

 pay 3 for the three shifts he worked that week that exceeded 10 hours.

            120.     Further, on several occasions, Defendants deducted portions of Stetsko’s paycheck




 1
     43.25 hours – 40.25 hours = 3 hours; 3 hours x $24.00 (Stetsko’s overtime rate) = $72.00 in unpaid overtime wages.
 2
     $18.00 (Stetsko’s hourly rate) x .5 hours = $9.00 in unpaid wages.
 3
     3 hours x $15.00 (minimum wage) = $45.00.


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 citing parking and traffic tickets Stetsko incurred while driving his company-issued ambulette

 during working hours and for work purposes.

        121.    By way of example, during the pay period covering February 27, 2025 through

 March 5, 2025, Stetsko incurred a parking ticket in the amount of $100.00, which Defendants

 deducted from Stetsko’s paycheck issued for that pay period.

        122.    Additionally, Defendants failed to furnish Stetsko with accurate wage statements

 showing all of his hours worked.

        123.    Defendants also failed to issue a Notice of Pay Rate to Stetsko at any time during

 his employment, let alone each time Defendants set or changed his rate of pay.

        124.    As a result of Defendants’ failure to provide Stetsko with a Notice of Pay Rate or

 accurate wage statements with each payment of his wages, Defendants prevented Stetsko from,

 inter alia: (i) realizing his true hours worked; (ii) realizing Defendants underpaid him; and (iii)

 taking appropriate action to obtain the payments due to him.

        125.    Throughout the relevant period, Stetsko had conversations with other Drivers,

 including a Driver named Vladimir, who confirmed that Defendants denied them compensation

 for all hours worked, overtime wages, and spread of hours pay, and improperly deducted parking

 and traffic violations from their wages.

        126.    Like Stetsko, Defendants issued these Drivers inaccurate wage statements that

 inaccurately reflected their hours worked.

        127.    These employees also confirmed that Defendants failed to provide them with

 Notices of Pay Rate.




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         iii.   Retaliation

         128.   On or around March 6, 2025, Stetsko complained to Portnov regarding Defendants’

 unlawful practice of failing to provide him and other Drivers with a meal break.

         129.   Pursuant to the NYLL, employees are entitled to a 30-minute meal break between

 11:00 a.m. and 2:00 p.m. for shifts lasting six hours or longer that extend over that period.

         130.   Defendants failed to provide Stetsko (and other Drivers) with meal breaks when he

 worked shifts lasting six hours or longer that started before 11:00 a.m. and ended past 2:00 p.m.

         131.   Immediately following Stetsko’s complaint, Portnov told Stetsko “if you want to

 eat, go home and eat,” and terminated Stetsko’s employment, in retaliation for his protected

 activity.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

         132.   Plaintiff brings this action, in part, as a collective action under the FLSA and

 applicable regulations thereunder.

         133.   Plaintiff seeks to maintain claims, pursuant to FLSA § 216(b), on behalf of himself

 and all other Drivers who Defendants employed at any time during the full statute of limitations

 period (the “FLSA Collective”).

         134.   At all relevant times, Plaintiff and the FLSA Collective were similarly situated, had

 substantially similar job requirements, were paid in the same manner and under the same common

 policies, plans, and scheme, and were subject to Defendants’ practices of unlawfully reducing

 compensable on-the-clock working hours, including for straight time and overtime hours worked.

         135.   Indeed, Plaintiff and the FLSA Collective were subject to Defendants’ practices of:

 (i) failing to compensate them at one and one-half times their regular rate of pay for all hours

 worked in excess of 40 hours in a workweek; and (ii) failing to compensate Plaintiff and the FLSA




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 Collective at the federal minimum wage for all hours worked in a workweek.

         136.    Throughout the full statute of limitations period, Defendants have been fully aware

 of the duties performed by Plaintiff and the FLSA Collective, and that those duties were not exempt

 from the provisions of the FLSA.

         137.    Defendants’ violations of the FLSA have been willful, repeated, knowing,

 intentional, and without a good faith basis, and have significantly damaged Plaintiff and the FLSA

 Collective.

         138.    As a result of Defendants’ conduct, they are liable to Plaintiff and the FLSA

 Collective for the full amount of their unpaid wages with interest, an additional equal amount as

 liquidated damages, plus the attorneys’ fees and costs incurred by Plaintiff and the FLSA

 Collective.

         139.    While the exact number of the FLSA Collective is unknown to Plaintiff at this time,

 and can only be ascertained through appropriate discovery, Plaintiff believes there are

 approximately 150 other similarly situated Drivers who were employed by Defendants during the

 full statute of limitations period.

         140.    Plaintiff is currently unaware of the identities of the members of the FLSA

 Collective.

         141.    Accordingly, Defendants should be required to provide Plaintiff with a list of all

 Drivers employed by Defendants during the full statute of limitations period, along with their last

 known addresses, telephone numbers, and email addresses, so Plaintiff can give the members of

 the FLSA Collective notice of this action and an opportunity to make an informed decision about

 whether to participate in it.




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                                CLASS ACTION ALLEGATIONS

        142.    Plaintiff brings this action, in part, as a class action under the NYLL and applicable

 regulations thereunder.

 A.     Class Definition

        143.    Plaintiff seeks to maintain claims, pursuant to FRCP 23, on behalf of himself and a

 class of all other Drivers who Defendants employed at any time during the full statute of limitations

 period (the “NYLL Class”).

        144.    Plaintiff alleges, on behalf of himself and the NYLL Class, that Defendants violated

 the NYLL by, inter alia: (i) failing to pay Plaintiff and the NYLL Class at or above the applicable

 State minimum wage rate for all hours worked; (ii) failing to compensate Plaintiff and the NYLL

 Class at one and one-half times their regular rate of pay (or the applicable State minimum wage

 rate) for all hours worked in excess of 40 hours in a workweek; (iii) failing to pay Plaintiff and the

 NYLL Class all wages owed in accordance with their agreed terms of employment; (iv) failing to

 compensate Plaintiff, and the NYLL Class spread of hours pay for shifts in excess of 10 hours in

 a day; (v) making improper deductions from wages owed to Plaintiff and the NYLL Class; (vi)

 failing to provide Notices of Pay Rate; and (vii) failing to furnish accurate wage statements.

        145.    Plaintiff has standing to seek such relief on behalf of the NYLL Class because

 Defendants’ unlawful practices have adversely affected them individually and as a group.

        146.    The unlawful practices described herein are part of Defendants’ normal course of

 conduct.

        147.    The claims brought pursuant to the NYLL may be pursued by all similarly situated

 persons who do not opt out of the NYLL Class, pursuant to FRCP 23.




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 B.     Numerosity and Impracticability of Joinder

        148.      The members of the NYLL Class are so numerous that joinder of all members is

 impracticable.

        149.      While the exact number of the members of the NYLL Class is unknown to Plaintiff

 at this time, and can only be ascertained through appropriate discovery, Plaintiff believes there are

 approximately 300 members of the NYLL Class.

        150.      Therefore, the numerosity requirement of FRCP 23(a)(1) is satisfied.

 C.     Common Questions of Law and Fact

        151.      Common questions of law and fact, the answers to which will meaningfully

 advance this litigation, exist as to the NYLL Class.

        152.      These common questions predominate over any questions only affecting the

 members of the NYLL Class individually.

        153.      Indeed, there are few, if any, purely individual issues in this action.

        154.      The questions of law and fact that are common to Plaintiff and the NYLL Class

 include, without limitation:

                  (a)    Whether Defendants failed to pay Plaintiff and the NYLL at or above the

 applicable State minimum wage rate for all hours worked;

                  (b)    Whether Defendants failed to pay Plaintiff and the NYLL Class the

 overtime rate for all hours worked in excess of 40 in a workweek;

                  (c)    Whether Defendants failed pay Plaintiff and the NYLL Class all wages

 owed in accordance with their agreed terms of employment;

                  (d)    Whether Defendants failed to compensate Plaintiff and the NYLL Class

 with spread of hours pay or an additional hour of pay at the applicable State minimum wage rate




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 on each day where the length of interval between the beginning and end of workday exceeded 10

 hours;

                 (e)      Whether Defendants made improper deductions from wages owed to

 Plaintiff and the NYLL Class;

                 (f)      Whether Defendants failed to provide Plaintiff and the NYLL Class with

 Notices of Pay Rate;

                 (g)      Whether Defendants failed to furnish accurate wage statements to Plaintiff

 and the NYLL Class; and

                 (h)      Whether Plaintiff and the NYLL Class are entitled to liquidated damages

 and injunctive relief.

          155.   Therefore, the common question requirement of FRCP 23(a)(2) is satisfied.

 D.       Typicality of Claims and Relief Sought

          156.   Plaintiff’s claims are typical of the claims of the members of the NYLL Class he

 seeks to represent.

          157.   Plaintiff and the NYLL Class work, or have worked, for Defendants and are, or

 were, subject to the same compensation policies and practices.

          158.   The wage practices suffered by Plaintiff, and the damages resulting therefrom, are

 sadly typical of Defendants’ treatment of their Drivers generally, and of the NYLL Class

 specifically.

          159.   Therefore, the typicality requirement of FRCP 23(a)(3) is satisfied.

 E.       Adequacy of Representation

          160.   Plaintiff will fairly and adequately protect the interests of the NYLL Class because

 his interests are coextensive and aligned with those of the members of the NYLL Class.




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        161.    Plaintiff has no interests adverse to the NYLL Class he seeks to represent.

        162.    Plaintiff is willing and able to represent the NYLL Class as fairly and vigorously

 as he pursues his similar individual claims.

        163.    Plaintiff has retained counsel who are competent, qualified, and experienced in

 employment class action litigation.

        164.    Plaintiff’s counsel are able to meet the demands necessary to litigate a class action

 of this size and complexity.

        165.    The combined interests, experience, and resources of Plaintiff and his counsel to

 competently litigate the individual and NYLL Class claims at issue in the instant action satisfy the

 adequacy of representation requirement of FRCP 23(a)(4).

 F.     Requirements of Rule 23(b)(1)

        166.    Without certification of the NYLL Class, the same evidence and issues would be

 subject to re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

 adjudications and conflicting obligations.

        167.    Accordingly, certification of the NYLL Class is the most efficient and judicious

 means of presenting the evidence and arguments necessary to resolve such questions for Plaintiff

 and the NYLL Class.

        168.    By filing this Complaint, Plaintiff is preserving the rights of the NYLL Class with

 respect to the statute of limitations on their claims.

        169.    Therefore, not certifying a class would substantially impair and/or impede the

 remaining members of the NYLL Class’s ability to protect their interests.




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 G.      Requirements of Rule 23(b)(2)

         170.    Defendants acted on grounds, described herein, generally applicable to Plaintiff and

 the NYLL Class by denying Plaintiff and the NYLL Class all wages owed, minimum and overtime

 wages, spread of hours pay, making improper wage deductions, and failing to furnish Notices of

 Pay Rate and accurate wage statements.

         171.    These acts are not sporadic or isolated and support the request for final injunctive

 and declaratory relief with respect to Plaintiff and the NYLL Class as a whole.

         172.    Declaratory and injunctive relief flow directly and automatically from proof of the

 common questions of law and fact at issue in this action.

         173.    Declaratory and injunctive relief are the factual and legal predicates for Plaintiff’s

 and the NYLL Class’s entitlement to monetary and non-monetary remedies for such wage

 violations.

         174.    Accordingly, injunctive and declaratory relief are among the predominant forms of

 relief sought in this case.

 H.      Requirements of Rule 23(b)(3)

         175.    The common issues of fact and law affecting Plaintiff’s claims and those of the

 NYLL Class—including, without limitation, the common issues identified in the paragraphs

 above—predominate over issues affecting only individual claims.

         176.    A class action is superior to other available means for the fair and efficient

 adjudication of Plaintiff’s claims and those of the NYLL Class.

         177.    The cost of proving Defendants’ pattern and practice of denying minimum,

 overtime, and other wages makes it impractical for the members of the NYLL Class to pursue their

 claims individually.




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        178.    This class action will not be difficult to manage for reasons including, without

 limitation: (i) the discrete organizational nature of all members of the NYLL Class (they must have

 worked for Defendants as Drivers during the statutory period); and (ii) the common questions of

 law and fact described in the paragraphs above.

                             FIRST CAUSE OF ACTION
               VIOLATIONS OF THE FLSA: FAILURE TO PAY OVERTIME
                     (On Behalf of Plaintiff and the FLSA Collective)

        179.    Plaintiff, on behalf of himself and the FLSA Collective, hereby repeats and

 realleges the foregoing allegations as if set forth fully herein.

        180.    During the full statutory period, Plaintiff and the FLSA Collective were protected

 by the provisions of the FLSA, 29 U.S.C §§ 201, et seq., and applicable regulations thereunder.

        181.    The FLSA requires covered employers, including Defendants, to compensate

 employees at a rate not less than one and one-half times their regular rate of pay (and not less than

 one and one-half times the federal minimum wage rate) for all hours worked in excess of 40 hours

 in a workweek.

        182.    Plaintiff and the FLSA Collective were not exempt from the requirement their

 employer pay them overtime under the FLSA, and they are entitled to be paid overtime by

 Defendants for all hours worked in excess of 40 hours in a workweek during the full statute of

 limitations period.

        183.    Throughout the full statute of limitations period, Defendants engaged in a policy

 and practice of failing to compensate Plaintiff and the FLSA Collective at the required overtime

 rate for time spent working in excess of 40 hours in a workweek.

        184.    As a result of Defendants’ failure to pay overtime compensation to Plaintiff and the

 FLSA Collective, Defendants have violated the FLSA and/or applicable regulations thereunder.




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        185.    Defendants have acted willfully and deliberately in maintaining an intentional

 practice of failing to compensate Plaintiff and the FLSA Collective, in accordance with the FLSA

 and/or applicable regulations thereunder.

        186.    Defendants’ violations of the FLSA have significantly damaged Plaintiff and the

 FLSA Collective and entitle them to recover damages to the greatest extent permitted by law,

 including, inter alia, the total amount of their unpaid wages, an additional equal amount in

 liquidated damages, prejudgment interest, and attorneys’ fees and costs.

                          SECOND CAUSE OF ACTION
           VIOLATIONS OF THE FLSA: FAILURE TO PAY MINIMUM WAGE
                   (On Behalf of Plaintiff and the FLSA Collective)

        187.    Plaintiff, on behalf of himself and the FLSA Collective, hereby repeats and

 realleges the foregoing allegations as if set forth fully herein.

        188.    During the full statutory period, Plaintiff and the FLSA Collective were protected

 by the provisions of the FLSA, 29 U.S.C §§ 201, et seq., and applicable regulations thereunder.

        189.    The FLSA requires covered employers, including Defendants, to compensate

 employees at a rate not less than the federal minimum wage for all hours worked in a workweek.

        190.    Plaintiff and the FLSA Collective were not exempt from the requirement that their

 employer pay them minimum wages under the FLSA.

        191.    During the statute of limitations period, Defendants have engaged in a policy and

 practice of failing to compensate Plaintiff and the FLSA Collective at a rate not less than the federal

 minimum wage for all hours worked in a workweek.

        192.    As a result of Defendants’ failures to compensate Plaintiff and the FLSA Collective

 at a rate not less than the federal minimum wage for all hours worked in a workweek, Defendants

 have violated the FLSA and/or applicable regulations thereunder.




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         193.    Defendants have acted willfully and deliberately in maintaining an intentional

 practice of failing to compensate Plaintiff and the FLSA Collective, in accordance with the FLSA.

         194.    Defendants’ violations of the FLSA have significantly damaged Plaintiff and the

 FLSA Collective and entitle them to recover the total amount of their unpaid wages, an additional

 equal amount in liquidated damages, prejudgment interest, and attorneys’ fees and costs.

                              THIRD CAUSE OF ACTION
                VIOLATIONS OF THE NYLL: FAILURE TO PAY OVERTIME
                        (On Behalf of Plaintiff and the NYLL Class)

         195.    Plaintiff, on behalf of himself and the NYLL Class, hereby repeats and realleges

 the foregoing allegations as if set forth fully herein.

         196.    During the full statutory period, Plaintiff and the NYLL Class were protected by

 the provisions of the NYLL, N.Y. Lab. Law §§ 190, et seq., and 650, et seq., as well as all

 applicable regulations thereunder.

         197.    The NYLL requires covered employers, including Defendants, to compensate

 employees at a rate not less than one and one-half times the applicable State minimum wage rates

 for all hours worked in excess of 40 hours in a workweek.

         198.    Plaintiff and the NYLL Class were not exempt from the requirement that

 Defendants pay them overtime under the NYLL, and they are entitled to be paid overtime by

 Defendants for all hours worked in excess of 40 hours in a workweek during the full statute of

 limitations period.

         199.    Throughout the full statute of limitations period, Defendants engaged in a policy

 and practice of failing to compensate Plaintiff and the NYLL Class at a rate not less than one and

 one-half times the applicable State minimum wage rates for all hours worked in excess of 40 hours

 in a workweek.




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         200.    As a result of Defendants’ failure to pay overtime compensation to Plaintiff and the

 NYLL Class, Defendants have violated the NYLL and/or applicable regulations thereunder.

         201.    Defendants have acted willfully and deliberately in maintaining an intentional

 practice of failing to compensate Plaintiff and the NYLL Class, in accordance with the NYLL.

         202.    Defendants’ violations of the NYLL have significantly damaged Plaintiff and the

 NYLL Class and entitle them to recover damages to the greatest extent permitted by law, including,

 inter alia, the total amount of their unpaid wages, an additional equal amount in liquidated

 damages, prejudgment interest, and attorneys’ fees and costs.

                          FOURTH CAUSE OF ACTION
           VIOLATIONS OF THE NYLL: FAILURE TO PAY MINIMUM WAGE
                     (On Behalf of Plaintiff and the NYLL Class)

         203.    Plaintiff, on behalf of himself and the NYLL Class, hereby repeats and realleges

 the foregoing allegations as if set forth fully herein.

         204.    During the full statutory period, Plaintiff and the NYLL Class were protected by

 the provisions of the NYLL, N.Y. Lab. Law §§ 190, et seq., and 650, et seq., as well as all

 applicable regulations thereunder.

         205.    The NYLL requires covered employers, including Defendants, to compensate

 Plaintiff and the NYLL Class at a rate not less than the applicable State minimum wage for all

 hours worked under 40 hours in a workweek.

         206.    Plaintiff and the NYLL Class were not exempt from the requirement that

 Defendants pay them minimum wages under the NYLL, and they are entitled to be paid minimum

 wages by Defendants for all hours worked under 40 hours in a workweek during the full statute of

 limitations period.




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         207.    Throughout the full statute of limitations period, Defendants have engaged in a

 policy and practice of failing to compensate Plaintiff and the NYLL Class at a rate not less than

 the applicable State minimum wage for all hours worked under 40 hours in a workweek.

         208.    As a result of Defendants’ failure to compensate Plaintiff and the NYLL Class at a

 rate not less than the applicable State minimum wage for all hours worked under 40 hours in a

 workweek, Defendants have violated the NYLL and/or applicable regulations thereunder.

         209.    Defendants have acted willfully and deliberately in maintaining an intentional

 practice of failing to compensate Plaintiff and the NYLL Class in accordance with the NYLL.

         210.    Defendants’ violations of the NYLL have significantly damaged Plaintiff and the

 NYLL Class and entitle them to recover the total amount of their unpaid wages, an additional equal

 amount in liquidated damages, prejudgment interest, and attorneys’ fees and costs.

                           FIFTH CAUSE OF ACTION
          VIOLATIONS OF THE NYLL: FAILURE TO PAY ALL WAGES OWED
                     (On Behalf of Plaintiff and the NYLL Class)

         211.    Plaintiff, on behalf of himself and the NYLL Class, hereby repeats and realleges

 the foregoing allegations as if set forth fully herein.

         212.    During the full statutory period, Plaintiff and the NYLL Class were protected by

 the provisions of the NYLL, N.Y. Lab. Law §§ 1, et seq., as well as all applicable regulations

 thereunder.

         213.    The NYLL requires covered employers, including Defendants, to compensate

 Drivers at their established regular rates of pay for all hours worked under 40 in a workweek and

 one and one-half times their established regular rates of pay for all hours worked in excess of 40

 hours in a workweek.




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         214.    Plaintiff and the NYLL Class were not exempt from the requirement and are

 entitled to be paid by Defendants at their established regular rates of pay for all hours worked

 under 40 in a workweek and one and one-half times their established regular rates of pay for all

 hours worked in excess of 40 in a workweek, during the full statute of limitations period.

         215.    Throughout the full statute of limitations period, Defendants have engaged in a

 common policy and practice of failing to pay Plaintiff and the NYLL Class at their established

 regular rates of pay for all hours worked under 40 in a workweek.

         216.    Throughout the full statute of limitations period, Defendants have engaged in a

 common policy and practice of failing to pay Plaintiff and the NYLL Class at their established

 regular rates of pay for all hours worked in excess of 40 in a workweek.

         217.    As a result of Defendants’ failure to compensate Plaintiff and the NYLL Class at

 their established regular rates of pay (or one and one-half times their established regular rates) for

 all hours worked, Defendants have violated the NYLL and/or applicable regulations thereunder.

         218.    Defendants have acted willfully and deliberately in maintaining an intentional

 practice of failing to compensate Plaintiff and the NYLL Class in accordance with the NYLL.

         219.    Defendants’ violations of the NYLL have significantly damaged Plaintiff and the

 NYLL Class and entitle them to recover the total amount of their unpaid wages, an additional equal

 amount in liquidated damages, prejudgment interest, and attorneys’ fees and costs.

                              SIXTH CAUSE OF ACTION
                  VIOLATIONS OF THE NYLL: SPREAD OF HOURS PAY
                        (On Behalf of Plaintiff and the NYLL Class)

         220.    Plaintiff, on behalf of himself and the NYLL Class, hereby repeats and realleges

 the foregoing allegations as if set forth fully herein.

         221.    During the full statutory period, Plaintiff and the NYLL Class were protected by

 the provisions of the NYLL, N.Y. Lab. Law §§ 1, et seq., as well as all applicable regulations


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 thereunder, including, without limitation, the Hospitality Industry Wage Order, 12 N.Y.C.R.R. §§

 146-1.1, et seq.

          222.   The NYLL and/or applicable regulations thereunder require employers, including

 Defendants, to furnish each of their employees one additional hour of pay at the basic minimum

 wage rate on each day during which the length of the interval between the beginning and end of

 the employee’s workday, or “spread of hours,” exceeds 10 hours.

          223.   Plaintiff and the NYLL Class were not exempt from the requirement that

 Defendants provide them with spread of hours pay.

          224.   Throughout the full statute of limitations period, Defendants have engaged in a

 policy and practice of unlawfully failing to provide spread of hours pay to Plaintiff and the NYLL

 Class.

          225.   As a result of Defendants’ failure to furnish spread of hours pay to Plaintiff and the

 NYLL Class, Defendants have violated, inter alia, the NYLL and/or applicable regulations

 thereunder.

          226.   Defendants’ violations of the NYLL have significantly damaged Plaintiff and the

 NYLL Class and entitle them to recover the total amount of their unpaid wages, an additional equal

 amount in liquidated damages, prejudgment interest, and attorneys’ fees and costs.

                            SEVENTH CAUSE OF ACTION
                 VIOLATIONS OF THE NYLL: UNLAWFUL DEDUCTIONS
                        (On Behalf of Plaintiff and the NYLL Class)

          227.   Plaintiff, on behalf of himself and the NYLL Class, hereby repeats and realleges

 the foregoing allegations as if set forth fully herein.

          228.   During the full statutory period, Plaintiff and the NYLL Class were protected by

 the provisions of the NYLL, N.Y. Lab. Law §§ 1, et seq., as well as all applicable regulations




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 thereunder.

         229.    The NYLL and/or applicable regulations thereunder prohibit employers, including

 Defendants, from making deductions from Plaintiff’s and the NYLL Class’s wages.

         230.    Plaintiff and the NYLL Class were not exempt from the requirement that their

 employer not make unlawful deductions from their wages.

         231.    By the actions described above, Defendants made unlawful deductions from

 Plaintiff’s and the NYLL Class’s wages.

         232.    As a result of Defendants’ unlawful deductions from Plaintiff’s and the NYLL

 Class’s wages, Defendants have violated the NYLL and/or applicable regulations thereunder.

         233.    Defendants have acted deliberately in maintaining an intentional practice of failing

 to compensate Plaintiff and the NYLL Class in accordance with the NYLL.

         234.    As a result of Defendants’ violations of the NYLL, Plaintiff and the NYLL Class

 are entitled to recover damages to the greatest extent permitted under the law.

                             EIGHTH CAUSE OF ACTION
                   VIOLATIONS OF THE NYLL: NOTICES OF PAY RATE
                        (On Behalf of Plaintiff and the NYLL Class)

         235.    Plaintiff, on behalf of himself and the NYLL Class, hereby repeats and realleges

 the foregoing allegations as if set forth fully herein.

         236.    During the full statutory period, Plaintiff and the NYLL Class were protected by

 the provisions of the NYLL, N.Y. Lab. Law §§ 190, et seq., as well as all applicable regulations

 thereunder.

         237.    The NYLL requires covered employers, including Defendants, to provide Drivers,

 “at the time of hiring, a notice containing the following information: the rate or rates of pay and

 basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;

 allowances, if any, claimed as part of the minimum wage, including tip, meal, or lodging


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 allowances . . . ; the regular pay day designated by the employer [ ]; the name of the employer; any

 ‘doing business as’ names used by the employer; the physical address of the employer’s main

 office or principal place of business, and a mailing address if different; the telephone number of

 the employer; plus such other information as the commissioner deems material and necessary,”

 which is commonly referred to as a Notice of Pay Rate. NYLL § 195(1)(a).

          238.   Plaintiff and the NYLL Class were not exempt from the requirement that

 Defendants provide them with Notices of Pay Rate.

          239.   Throughout the full statute of limitations period, Defendants have engaged in a

 policy and practice of unlawfully failing to provide Notices of Pay Rate to Plaintiff and the NYLL

 Class.

          240.   As a result of Defendants’ failure to provide Notices of Pay Rate to Plaintiff and

 the NYLL Class, Defendants have violated, inter alia, NYLL § 195.

          241.   Defendants have acted willfully and deliberately in maintaining an intentional

 practice of failing to provide proper notices to Plaintiff and the NYLL Class in accordance with

 the NYLL.

          242.   Further, due to Defendants’ failure to provide Notices of Pay Rate, Plaintiff and the

 NYLL Class have suffered concrete harm.

          243.   Specifically, Defendants prevented Plaintiff and the NYLL Class from, inter alia:

 (i) realizing their true hours worked; (ii) realizing that Defendants underpaid them; and (iii)

 advocating for themselves by taking appropriate action to obtain the payments due to them.

          244.   Defendants’ failure to provide Plaintiff and the NYLL Class with Notices of Pay

 Rate not only hindered Plaintiff and the NYLL Class from realizing their rights at the time of

 payment, but also injured them by enabling the underpayment of their wages, necessitating this




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 action.

           245.    Defendants’ violations of the NYLL have significantly damaged Plaintiff and the

 NYLL Class and entitle them to recover damages to the greatest extent permitted by law, including,

 inter alia, $50.00 for each workday the violation occurred, not to exceed $5,000.00, plus attorneys’

 fees and costs.

                             NINTH CAUSE OF ACTION
              VIOLATIONS OF THE NYLL: ACCURATE WAGE STATEMENTS
                       (On Behalf of Plaintiff and the NYLL Class)

           246.    Plaintiff, on behalf of himself and the NYLL Class, hereby repeats and realleges

 the foregoing allegations as if set forth fully herein.

           247.    During the full statutory period, Plaintiff and the NYLL Class were protected by

 the provisions of the NYLL, N.Y. Lab. Law §§ 190, et seq., as well as all applicable regulations

 thereunder.

           248.    The NYLL requires covered employers, including Defendants, to “furnish each

 employee with a statement with every payment of wages, listing the following: the dates of work

 covered by that payment of wages; name of employee; name of employer; address and phone

 number of employer; rate or rates of pay and basis thereof, whether paid by the hour, shift, day,

 week, salary, piece, commission, or other; gross wages; deductions; allowances, if any, claimed as

 part of the minimum wage . . . ; and net wages.” NYLL § 195(3).

           249.    Plaintiff and the NYLL Class were not exempt from the requirement that

 Defendants provide them with accurate wage statements.

           250.    Throughout the full statute of limitations period, Defendants have engaged in a

 policy and practice of unlawfully failing to furnish accurate wage statements to Plaintiff and the

 NYLL Class.




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           251.   As a result of Defendants’ failure to furnish accurate wage statements to Plaintiff

 and the NYLL Class, Defendants have violated, inter alia, NYLL § 195.

           252.   Defendants have acted willfully and deliberately in maintaining an intentional

 practice of failing to furnish accurate wage statements to Plaintiff and the NYLL Class in

 accordance with the NYLL.

           253.   Further, due to Defendants’ failure to provide accurate wage statements, Plaintiff

 and the NYLL Class have suffered concrete harm.

           254.   Specifically, Defendants prevented Plaintiff and the NYLL Class from, inter alia:

 (i) realizing their true hours worked; (ii) realizing that Defendants underpaid them; and (iii)

 advocating for themselves by taking appropriate action to obtain the payments due to them.

           255.   Defendants’ failure to provide Plaintiff and the NYLL Class with accurate wage

 statements not only hindered Plaintiff and the NYLL Class from realizing their rights at the time

 of payment, but also injured them by enabling the underpayment of their wages, necessitating this

 action.

           256.   Defendants’ violations of the NYLL have significantly damaged Plaintiff and the

 NYLL Class and entitle them to recover damages to the greatest extent permitted by law, including,

 inter alia, $250.00 for each workday the violation occurred, not to exceed $5,000.00, plus

 attorneys’ fees and costs.

                                TENTH CAUSE OF ACTION
                         VIOLATIONS OF THE NYLL: RETALIATION
                           (On Behalf of Plaintiff Stetsko Individually)

           257.   Stetsko hereby repeats and realleges the foregoing allegations as if set forth fully

 herein.

           258.   During the full statutory period, Stetsko was protected by the provisions of the




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 NYLL, N.Y. Lab. Law §§ 215, et seq., as well as all applicable regulations thereunder.

        259.    As set forth above, Stetsko complained to Defendants regarding Defendants’

 violation of the NYLL.

        260.    Defendants retaliated against Stetsko for his protected activity by terminating his

 employment.

        261.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

 violation of the NYLL, Stetsko has suffered, and continues to suffer, monetary and/or economic

 harm for which he is entitled to an award of damages.

        262.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

 violation of the NYLL, Stetsko has suffered, and continues to suffer, emotional distress for which

 he is entitled to an award of compensatory damages.

        263.    Defendants’ unlawful and retaliatory actions were intentional, done with malice,

 and/or showed a deliberate, willful, wanton, and reckless indifference to Stetsko’s rights under the

 NYLL, for which Stetsko is entitled to an award of punitive damages.

        264.    Stetsko is further entitled to an award of liquidated damages, prejudgment interest,

 and attorneys’ fees and costs.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself, the FLSA Collective, and the NYLL Class,

 respectfully requests that this Court:

        A.      Declare that the practices complained of herein are unlawful under applicable

 federal and State law;

        B.      Grant an injunction and order permanently restraining Defendants from engaging

 in such unlawful conduct;

        C.      Declare this action to be maintainable as a collective action pursuant to


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 29 U.S.C. § 216, and direct Defendants to provide Plaintiff with a list of all members of the FLSA

 Collective, including all last known addresses, telephone numbers, and email addresses of each

 such person, so Plaintiff can give such persons notice of this action and an opportunity to make an

 informed decision about whether to participate in it;

           D.    Declare this action to be maintainable as a class action pursuant to FRCP 23, and

 direct Defendants to provide Plaintiff with a list of all members of the NYLL Class, including all

 last known addresses, telephone numbers, and email addresses of each such person, so Plaintiff

 can give such persons notice of this action and an opportunity to make an informed decision about

 whether to participate in it;

           E.    Designate Plaintiff as the representative of the FLSA Collective, and his counsel of

 record, Faruqi & Faruqi, LLP, as counsel for the FLSA Collective;

           F.    Designate Plaintiff as the representative of the NYLL Class, and his counsel of

 record, Faruqi & Faruqi, LLP, as class counsel;

           G.    Determine the damages sustained by Plaintiff and the FLSA Collective as a result

 of Defendants’ violations of the FLSA, and award those damages against Defendants and in favor

 of Plaintiff and the FLSA Collective, plus such pre- and post-judgment interest as may be allowed

 by law;

           H.    Determine the damages sustained by Plaintiff and the NYLL Class as a result of

 Defendants’ violations of the NYLL, and award those damages against Defendants and in favor of

 Plaintiff and the NYLL Class, plus such pre- and post-judgment interest as may be allowed by

 law;

           I.    Award Plaintiff, the FLSA Collective, and the NYLL Class an additional equal

 amount as liquidated damages;




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        J.      Award Plaintiff all appropriate relief pursuant to his individual retaliation claim

 under the NYLL;

        K.      Award Plaintiff, the FLSA Collective, and/or the NYLL Class their reasonable

 attorneys’ fees and costs and disbursements in this action including, without limitation, any

 accountants’ or experts’ fees; and

        L.      Grant such other and further relief that the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, on behalf of himself, the FLSA Collective, and the NYLL Class, hereby demands

 a trial by jury on all issues of fact and damages.

 Dated: June 9, 2025                            FARUQI & FARUQI, LLP
        New York, New York

                                                By: /s/ Innessa M. Huot           _
                                                   Innessa M. Huot
                                                   Camilo M. Burr
                                                   Brian E. Nettle

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                                                Attorneys for Plaintiff, the
                                                Proposed FLSA Collective, and
                                                the Proposed NYLL Class




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

 PAVEL STETSKO, on behalf of himself and                Case No.:
 others similarly situated,

                       Plaintiff,                       CONSENT TO SUE

                 v.

 SINAI I INC. d/b/a SINAI VAN SERVICE and
 YEFIM PORTNOV, in his individual and
 professional capacity,

                        Defendants.

        I, Pavel Stetsko, was employed by Defendants within the last three years and am the Named

 Plaintiff in the above-captioned action, Stetsko v. Sinai I Inc. d/b/a Sinai Van Service, et al.,

 pending in the United States Court for the Eastern District of New York. I hereby consent to sue

 Defendants and be a party Plaintiff in this lawsuit.

        I hereby appoint the law firm of Faruqi & Faruqi, LLP, located at 685 Third Avenue, 26th

 Floor, New York, New York 10017, telephone number (212) 983-9330, as my attorneys.




 Name (Print):




 Signature:                                                  Date:
